                                                            Case 2:19-cv-02850-DMG-JC Document 13 Filed 05/30/19 Page 1 of 2 Page ID #:44




                                                                 1   HYUNSUK ALBERT CHANG (SBN 206270)
                                                                     GRACE HYOJUNG JANG (SBN 302640)
                                                                 2   LAW OFFICES      OF ALBERT CHANG
                                                                     1225 W. 190th Street, Suite 420
                                                                 3   Gardena, CA 90248
                                                                     Telephone: (310) 769-6836
                                                                 4   Facsimile: (310) 769-6787
                                                                     Email: albertchang@aclawfirm.net
                                                                 5

                                                                 6   Attorneys for Plaintiff TEXKHAN, INC., a California Corporation,
                                                                     dba HYUP SUNG T.R.D.
                                                                 7

                                                                 8
                                                                                         UNITED STATES DISTRICT COURT
                                                                 9
                                                                                       CENTRAL DISTRICT OF CALIFORNIA
                                                                10

                                                                11   TEXKHAN, INC., a California         )   Case No. 2:19-cv-02850-DMG-JC
                                                                                                         )
                                                                     Corporation, individually and doing )   Honorable Dolly M. Gee
LAW OFFICES OF ALBERT CHANG




                                                                12
                                                                                                         )
                              1225 W. 190th Street, Suite 420




                                                                     business as HYUP SUNG T.R.D.,
                                Gardena, California 90248




                                                                13                Plaintiff,             )
                                                                                                         )
                                     (310) 769-6836




                                                                14
                                                                                                         )   PROOF OF SERVICE OF
                                                                            vs.                          )   COMPLAINT ON DEFENDANT
                                                                15
                                                                                                         )
                                                                                                         )   EN CREME
                                                                16   EN CREME, an unknown business       )
                                                                                                         )
                                                                     entity; POSHMARK, INC., a Delaware )
                                                                17
                                                                     Corporation, doing business as      )
                                                                18   POSHMARK; PROMGIRL, LLC, a          )
                                                                                                         )
                                                                19
                                                                     New York Limited Liability Company, )
                                                                     doing business as THISGIRL; and     )
                                                                20
                                                                                                         )
                                                                     DOES 1 through 50,                  )
                                                                                                         )
                                                                21               Defendants.             )
                                                                                                         )
                                                                22   ________________________________
                                                                23

                                                                24

                                                                25

                                                                26

                                                                27

                                                                28


                                                                            PROOF OF SERVICE OF COMPLAINT ON DEFENDANT EN CREME
                                                                                                    -1-
Case 2:19-cv-02850-DMG-JC Document 13 Filed 05/30/19 Page 2 of 2 Page ID #:45
